          Case 3:09-cr-01336-JAH                        Document 379                 Filed 12/22/11              PageID.1143                Page 1 of 8


     ""'AD 2458      (Rev. 9/00) Judgment in a Criminal Case
                     Sheet 1




                                           v.                                         (For Offenses Committed On or After November I, 198­

                             Joseph Demitrius Aguilar                                 Case Number: 09-cr-01336-JAH-IO
                                                                                       Charles L Rees
                                                                                      Defendant's Attorney
     REGISTRATION NO. 17342050

     o
     THE DEFENDANT:
     I2$] pleaded gui Ity to count(s)            count one of the superseding indictment.

     o was found guilty on count(s)
             after a plea of not gui Ity.
             Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                               Count
     Title & Section                            Nature of Offense                                                                             Number(s)
21:84I(a)(I) and 846                    Conspiracy to Distribute and Possess with Intent to Distribute Marijuana
21 :853




                 The defendant is sentenced as provided in pages 2 through _ _4__ of this judgment. The sentence is imposed pursuant
          to the Sentencing Reform Act of 1984.

   ooX    The defendant has been found not guilty on count(s)
          Count(s) _remaining
                     _ _ _ _ _ _ _ _ _ _ __
                                                                                            X dismissed on the motion of the United States.
                                                                                     is DareD
   181 Assessment: $100.00.
   181 No fine                                          181 Forfeited pursuant to order filed                  12/19/11                included herein.
                 IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any change of name, residence,
          or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
          defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                       December 19,2011




                                                                                       UNITED STATES DISTRICT JUDGE



                                                                                                                                            09-cr-01336-JAH-1O
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AO 245B      (Rev, 9100) Judgment in Criminal Case
             Sheet 2    Imprisonment

                                                                                             Judgment -   Page _...;;..2_ of   4
DEFENDANT: Joseph Demitrius Aguilar
CASE NUMBER: 09-cr-01336-JAH-IO
                                                              IMPRISONMENT
          The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
          Sixty months.



   o Sentence imposed pursuant to Title 8 USC Section 1326(b).
   Igj The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends the residential drug abuse program and that custody be served at FCI Terminal Island.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Da.m.    Dp.m.        on
                as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o
           o    as notified by the United States Marshal.
           o    as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                 to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                          UNITED STATES MARSHAL


                                                                       By ________~~~~~~~~~~----__- - ­
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                   09-cr-01336-JAH-IO
    Case 3:09-cr-01336-JAH                         Document 379            Filed 12/22/11            PageID.1145              Page 3 of 8


AO 245D      (Rev. 3/1 0) Judgment in a Criminal Case for Revocations
             Sheet 3 - Supervised Release
                                                                                                           Judgment   Page __3__ of        4

DEFENDANT: Joseph Demitrius Aguilar
CASE NUMBER: 09-cr-01336-JAH-IO
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a con.trolled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two penodlc drug t~sts
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month dUring
the term of supervision. unless otherwise ordered by court.
o      The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)

o The defendant shall participate in an approved program for domestic violence. (Check, if applica ble.)
           If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
         each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.
                                                                                                                             09-cr-01336-JAH-IO
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       A0245B      (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 4    Special Conditions
                                                                                                         Judgment-Page   -.1.- of _......:::4:....-_ _
       DEFENDANT: Joseph Demitrius Aguilar
       CASE NUMBER: 09--cr-01336-JAH-I0




                                               SPECIAL CONDITIONS OF SUPERVISION
o   Submit person, residence, office or vehicle to a search, conducted by a U?ited States ~rob~tion Officer ~~ a reasonable time and in a .
    reasonable manner, based upon reasonable suspicion of contraband or eVidence of a ViolatIOn of a condItion of release; fatlure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o   Not enter the Republic of Mexico without written permission of the Court or probation officer.
o   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

o   Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may be required
    to contribute to the costs of serviees rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o   Participate in a mental health treatment program as directed by the probation offiee.
o   Provide complete disclosure of personal and business financial records to the probation officer as requested.

D probation
  Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
            officer.
o   Seek and maintain full time employment andlor schooling or a combination of both.
o   Resolve all outstanding warrants within                  days.
o   Complete           hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

o   Reside in a Residential Reentry Center (RRC) as directed by the Bureau of Prisons for a period of
    commencing upon release from imprisonment

o   Remain in your place of residence for a period of
    services or undergoing medical treatment
                                                                               , except while working at verifiable employment, attending religious

o   Not engage in any form of telemarketing, as defined in 18 USC 2325, without the written permission of the probation officer.

o   Comply with the conditions of the Home Confinement Program for a period of                               months and remain at your residence
    except for activities or employment as approved by the court or probation officer. Wear an electronic monitoring device and follow
    procedures specified by the probation officer. Pay the total cost of electronic monitoring services, or a portion if deemed appropriate by the
    probation officer.

o   Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
    The defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based
    on the defendant's ability to pay.


                                                                                                                                  09--cr-01336-JAH-I0
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 8                                   UNITED STATES DISTRICT COURT

 9                                SOUTHERN DISTRICT OF CALIFORNIA

10     UNITED STATES OF AMERICA,                         )   Case No. 09cr1336-JAH
                                                         )
11                             Plaintiff,                )   ORDER OF CRIMINAL
                                                         )   FORFEITURE
12            v.                                         )
                                                         )
13     JOSEPH DEMETRIUS AGUILAR (10),                    )
                                                         )
14                             Defendant.                )

15     -------------------------)
 16            WHEREAS, in the Superseding Indictment and Bill of Particulars in the above-captioned
 17    case, the United States sought forfeiture of all right, title and interest in specific properties of the
 18    above-named defendant, JOSEPH DEMETRIUS AGUILAR (10) ("Defendant"), pursuant to

 19    21 U.S.C. § 853 as properties constituting and derived from proceeds the Defendant obtained

 20    directly or indirectly as the result of the commission of the violation of Title 21, United States

 21    Code, Sections 846 and 841(a)(1) as charged in the Superseding Indictment, or were used or

 22     intended to be used in any manner or part to commit and to facilitate the commission of such
 23    violation; and

 24            WHEREAS, on January 13,2011, the plea of Defendant, which plea included consent to
 25    the criminal forfeiture allegation pursuant to Title 21 as set forth in the Superseding Indictment,
 26    was accepted by the U.S. District Court; and

 27            WHEREAS, by virtue of the facts set forth in the plea agreement, the United States has
 28    established the requisite nexus between the forfeited properties and the offense; and
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 1            WHEREAS, the assets to which Defendant pled are in the process of being forfeited under

 2    the Preliminary Orders of Criminal Forfeiture of co-defendants Ernesto Prado-Buzo (8) and"

 3     Jonathon Jesus Milan (9); and

 4            WHEREAS, on December I, 2010, a Notice of Order of Forfeiture was delivered by

 5     certified mail to Defendant through his attorney regarding forfeiture of all assets through co­

.6     defendants Ernesto Prado-Buzo (8) and Jonathon Jesus Milan (9); to date, Defendant has asserted

 7     no interest in contesting said forfeiture; and

 8             WHEREAS, the United States, having submitted the Order herein to the Defendant through

 9     his attorney of record, to review, and no objections having been received;

10             Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

11             1.       Based upon the guilty plea ofthe Defendant, all right, title and interest ofDefendant

12     JOSEPH DEMETRIUS AGUILAR (10) in the following properties are hereby forfeited to the

13     United States:

14             1.       United States currency in the amount of$33,615 seized from codefendant Danny
                        Elia Saeed Daly on December 11, 2008, and having United States Drug
15                      Enforcement Administration (hereafter "DEA") Asset Identification Number 09­
                        DEA-509387.
16
               2.       United States currency in the amount of $18,468 seized from codefendant Paul
17                      Loaiza on March 19,2009, and having DEA Asset Identification number 09-DEA­
                        513702.
18
               3.       United States currency in the amount of$3,110 seized from Dan Fleyschman on
19                      March 19,2009, and having DEA Asset Identification number 09-DEA-513704.
20             4.       United States currency in the amount of $1,261 seized from codefendant Paul
                        Loaiza on March 19,2009, and having DEA Asset Identification number09-DEA­
21                      513705.
22             5.       United States currency in the amount of $921 seized from codefendant Zacarias
                        Fe1ix-Cutino and having DEA Asset Identification number 09-DEA-513706.
23
               6.       Sixty-five (65) American Express Travelers Cheques having a total value of$6,500,
24                      seized from codefendant Paul Loaiza and Tatiana Maribel Torres on March 19
                        2009, and having DEA Asset Identification number 09-DEA-513707.            .    ,
25
               7.       United States currency in the amount of $40,500 seized from codefendant Edon
26                      Moyal on March 19,2009, and having DEA Asset Identification number 09-DEA­
                        513709.
27

28     II


                                                          2                                09cr1336
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 1           8.    United States currency in the amount of $1,500 seized from defendant Emesto
                   Prado-Buzo on March 19,2009, and having DEA Asset Identification number 09­
 2                 DEA-513733.

 3           9.    A 2007 BMW M6 automobile, seized from codefendant Paul Loaiza and Carmen
                   Martinez on March 19,2009 with an estimated value of$61,200 and having DEA
 4                 Asset Identification number 09-DEA-513 772.

 5           10.   A 2003 Ford F-150 truck, seized from codefendant Paul Loaiza on March 19,2009
                   with an estimated value of $5,000.00 and having DEA Asset Identification
 6                 number 09-DEA-513854.

 7           11.   United States currency in the amount of $46,067 seized from codefendant Paul
                   Loaiza on March 19,2009, and having DEA Asset Identification number 09-DEA­
 8                 513973.
             12.   A 2008 Mercedes Benz OL550 automobile seized from Tatiana Maribel Torres on
 9                 March 27, 2009 with an estimated value of $64,500 and having DEA Asset
                   Identification number 09-DEA-514045.
10
             13.   A 2005 Chaparral Signature 330 Powerboat seized from Dan Fleyschmanon March
11                 27, 2009 with an estimated value of$109,015 and having DEAAsset Identification
                   number 09-DEA-514270.
12
             14.   United States currency in the amount of$800 seized from codefendant Paul Loaiza
13                 on March 27,2009, and having DEA Asset Identification number 09-DEA-515207.
14           15.   A 2002 Jaguar X Type automobile seized from Loretta F. Peraza on March 19,
                   2009 with an estimated value of $6,100 and having DEA Asset Identification
15                 number 09-DEA-515234.
16           16.   A men's Breitling Flying B Stainless Steel Wrist Watch seized from codefendant
                   Paul Loaiza on March 19, 2009 with an estimated value of$7,600 and having DEA
17                 Asset Identification number 09-DEA-515868.
18           17.   Eight items of assorted jewelry seized from codefendant Paul Loaiza and Tatiana
                   Maribel Torres on March 19,2009 with an estimated value of$33,760 and having
19                 DEA Asset Identification number 09-DEA-515874.
20           18.   A 2000 Lexus OS400 automobile seized from Ruby Espinoza on June 18, 2009
                   with an estimated value of $8,450 and having DEA Asset Identification
21                 number 09-DEA-519233.
22           19.   United States currency in the amount of $21,000 seized from Troy Penn on
                   November 25, 2008, and having DEA Asset Identification number 09-DEA­
23                 508670.
24           20.   United States Currency in the amount of$34,020 seized from Armando Quevedo­
                   Jimenez on March 10,2009, and having DEA Asset Identification number 09­
25                 DEA-513203.
26     II
27     II
28     II


                                                  3                              09cr1336
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 1             2.     Because ancillary proceedings are being conducted pursuant to the forfeiture orders

 2     of other co-defendants in this case, no ancillary proceedings or further forfeiture action is required

 3     as to Defendant JOSEPH DEMETRIUS AGUILAR (10).

 4             DATED:

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